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7                                UNITED STATES DISTRICT COURT

8                              CENTRAL DISTRICT OF CALIFORNIA

9

10   IN RE IVAN RENE MORE,            )          Case No. CV 20-5733 FMO
                                      )
11                   Debtor,          )                BK Case No. 17-12071 MB
     ________________________________ )                Adv. Case No. 17-1088 MB
12                                    )
     IVAN RENE MOORE,                 )
13                                    )
                     Appellant,       )          JUDGMENT
14                                    )
                v.                    )
15                                    )
     WELLS FARGO BANK, N.A., et al.,  )
16                                    )
                     Appellees.       )
17                                    )

18         IT IS ADJUDGED that the above-captioned action is dismissed without prejudice.

19   Dated this 12th day of January, 2021.

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21                                                                   /s/
                                                             Fernando M. Olguin
22                                                       United States District Judge

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